     Case 5:20-cv-01635-CBM-SP Document 1 Filed 08/14/20 Page 1 of 9 Page ID #:1




 1   Todd M. Friedman (SBN 216752)
     Meghan E. George (SBN 274525)
 2   Adrian R. Bacon (SBN 280332)
 3   Thomas E. Wheeler (SBN 308789)
     LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 4
     21550 Oxnard St., Suite 780
 5   Woodland Hills, CA 91367
 6
     Phone: (323) 306-4234
     Fax: 866-633-0228
 7   tfriedman@toddflaw.com
 8   mgeorge@toddflaw.com
     abacon@toddflaw.com
 9
     twheeler@toddflaw.com
10   Attorneys for Plaintiff
11
                        UNITED STATES DISTRICT COURT
12                     CENTRAL DISTRICT OF CALIFORNIA
13
                                              )   Case No.
14   RICHARD DASCHBACK,                       )
15   individually and on behalf of all others )   CLASS ACTION
     similarly situated,                      )
16
                                              )   COMPLAINT FOR VIOLATIONS
17   Plaintiff,                               )   OF:
18                                            )
            vs.                               )   1. NEGLIGENT VIOLATIONS OF
19                                                   THE TELEPHONE CONSUMER
                                              )      PROTECTION ACT [47 U.S.C.
20   HIGH QUALITY VEHICLE                     )      §227 ET SEQ.]
     PROTECTION, and DOES 1 through )             2. WILLFUL VIOLATIONS OF THE
21                                                   TELEPHONE CONSUMER
     10, inclusive, and each of them,         )      PROTECTION ACT [47 U.S.C.
22                                            )      §227 ET SEQ.]
23
     Defendant.                               )
                                              )   DEMAND FOR JURY TRIAL
24                                            )
25                                            )
                                              )
26
           Plaintiff, RICHARD DASCHBACK (“Plaintiff”), individually and on
27
     behalf of all others similarly situated, alleges the following upon information and
28
     belief based upon personal knowledge:

                                  CLASS ACTION COMPLAINT
                                             -1-
     Case 5:20-cv-01635-CBM-SP Document 1 Filed 08/14/20 Page 2 of 9 Page ID #:2




 1                                   NATURE OF THE CASE
 2           1.      Plaintiff brings this action individually and on behalf of all others
 3   similarly situated seeking damages and any other available legal or equitable
 4   remedies resulting from the illegal actions of HIGH QUALITY VEHICLE
 5   PROTECTION (“Defendant”), in negligently, knowingly, and/or willfully
 6   contacting Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone
 7   Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading
 8   Plaintiff’s privacy.
 9                                  JURISDICTION & VENUE
10           2.      2.      Jurisdiction is proper under 28 U.S.C. § 1331 because this
11   action arises under a Federal Question, namely the Telephone Consumer Protection
12   Act, 47 U.S.C. § 227, et seq.. Plaintiffs also seek up to $1,500.00 in damages for
13   each call in violation of the TCPA, which, when aggregated among a proposed
14   class in the thousands, exceeds the $5,000,000.00 threshold for federal court
15   jurisdiction.        Therefore, both federal question jurisdiction and the damages
16   threshold under the Class Action Fairness Act of 2005 (“CAFA”) are present, and
17   this Court has jurisdiction.
18           3.      Venue is proper in the United States District Court for the Central
19   District of California pursuant to 28 U.S.C. 1391(b) because Defendant resides
20   within this District and does business in the state of California.
21                                          PARTIES

22           4.      Plaintiff, RICHARD DASCHBACK (“Plaintiff”), is a natural person

23   residing in Exeter, New Hampshire and is a “person” as defined by 47 U.S.C. § 153

24   (39).

25
             5.      Defendant,      HIGH     QUALITY       VEHICLE       PROTECTION

26
     (“Defendant”) is a corporation engaged in the sale of extended automobile

27
     warranties residing in Rancho Cucamonga, California, and is a “person” as defined

28
     by 47 U.S.C. § 153 (39).



                                      CLASS ACTION COMPLAINT
                                                 -2-
     Case 5:20-cv-01635-CBM-SP Document 1 Filed 08/14/20 Page 3 of 9 Page ID #:3




 1           6.    The above named Defendant, and its subsidiaries and agents, are
 2   collectively referred to as “Defendants.” The true names and capacities of the
 3   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 4   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 5   names. Each of the Defendants designated herein as a DOE is legally responsible
 6   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 7   Complaint to reflect the true names and capacities of the DOE Defendants when
 8   such identities become known.
 9           7.    Plaintiff is informed and believes that at all relevant times, each and
10   every Defendant was acting as an agent and/or employee of each of the other
11   Defendants and was acting within the course and scope of said agency and/or
12   employment with the full knowledge and consent of each of the other Defendants.
13   Plaintiff is informed and believes that each of the acts and/or omissions complained
14   of herein was made known to, and ratified by, each of the other Defendants.
15                              FACTUAL ALLEGATIONS
16           8.    Beginning in or around February of 2019, Defendant contacted
17   Plaintiff on her cellular telephone ending in -7110, in an effort to sell or solicit its
18   services.
19           9.    Defendant called Plaintiff on her cellular telephone from phone
20   numbers confirmed to belong to Defendant, including without limitation (209) 267-
21   2006.

22           10.   Defendant used an “automatic telephone dialing system”, as defined

23   by 47 U.S.C. § 227(a)(1) to place its call to Plaintiff seeking to sell or solicit its

24   business services.

25
             11.   Defendant’s calls constituted calls that were not for emergency

26
     purposes as defined by 47 U.S.C. § 227(b)(1)(A).

27
             12.   Defendant’s calls were placed to telephone number assigned to a

28
     cellular telephone service for which Plaintiff incurs a charge for incoming calls



                                   CLASS ACTION COMPLAINT
                                              -3-
     Case 5:20-cv-01635-CBM-SP Document 1 Filed 08/14/20 Page 4 of 9 Page ID #:4




 1   pursuant to 47 U.S.C. § 227(b)(1).
 2         13.     Plaintiff is not a customer of Defendant’s services and has never
 3   provided any personal information, including her cellular telephone number, to
 4   Defendant for any purpose whatsoever.
 5         14.     During all relevant times, Defendant did not possess Plaintiff’s “prior
 6   express consent” to receive calls using an automatic telephone dialing system or an
 7   artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
 8   227(b)(1)(A).
 9         15.     Upon information and belief, and based on Plaintiff’s experiences of
10   being called by Defendant despite having no prior relation to Plaintiff whatsoever,
11   and at all relevant times, Defendant failed to establish and implement reasonable
12   practices and procedures to effectively prevent telephone solicitations in violation
13   of the regulations prescribed under 47 U.S.C. § 227(c)(5).
14                                CLASS ALLEGATIONS
15         16.     Plaintiff brings this action individually and on behalf of all others
16   similarly situated, as a member the proposed class (hereafter, “The Class”) defined
17   as follows:
18
                   All persons within the United States who received any
19                 solicitation/telemarketing   telephone   calls    from
20                 Defendant to said person’s cellular telephone made
                   through the use of any automatic telephone dialing
21                 system or an artificial or prerecorded voice and such
22                 person had not previously consented to receiving such
                   calls within the four years prior to the filing of this
23
                   Complaint
24
25         17.     Plaintiff represents, and is a member of, The Class, consisting of all
26   persons within the United States who received any solicitation telephone calls from
27   Defendant to said person’s cellular telephone made through the use of any
28   automatic telephone dialing system or an artificial or prerecorded voice and such


                                   CLASS ACTION COMPLAINT
                                              -4-
     Case 5:20-cv-01635-CBM-SP Document 1 Filed 08/14/20 Page 5 of 9 Page ID #:5




 1   person had not previously not provided their cellular telephone number to
 2   Defendant within the four years prior to the filing of this Complaint.
 3         18.    Defendant, its employees and agents are excluded from The Class.
 4   Plaintiff does not know the number of members in The Class, but believes the Class
 5   members number in the thousands, if not more. Thus, this matter should be
 6   certified as a Class Action to assist in the expeditious litigation of the matter.
 7         19.    The Class is so numerous that the individual joinder of all of its
 8   members is impractical. While the exact number and identities of The Class
 9   members are unknown to Plaintiff at this time and can only be ascertained through
10   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
11   The Class includes thousands of members.           Plaintiff alleges that The Class
12   members may be ascertained by the records maintained by Defendant.
13         20.    Plaintiff and members of The Class were harmed by the acts of
14   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
15   and The Class members via their cellular telephones thereby causing Plaintiff and
16   The Class members to incur certain charges or reduced telephone time for which
17   Plaintiff and The Class members had previously paid by having to retrieve or
18   administer messages left by Defendant during those illegal calls, and invading the
19   privacy of said Plaintiff and The Class members.
20         21.    Common questions of fact and law exist as to all members of The
21   Class which predominate over any questions affecting only individual members of

22   The Class. These common legal and factual questions, which do not vary between

23   Class members, and which may be determined without reference to the individual

24   circumstances of any Class members, include, but are not limited to, the following:

25
                  a.     Whether, within the four years prior to the filing of this

26
                         Complaint, Defendant made any telemarketing/solicitation call

27
                         (other than a call made for emergency purposes or made with

28
                         the prior express consent of the called party) to a Class member



                                   CLASS ACTION COMPLAINT
                                              -5-
     Case 5:20-cv-01635-CBM-SP Document 1 Filed 08/14/20 Page 6 of 9 Page ID #:6




 1                       using any automatic telephone dialing system or any artificial
 2                       or prerecorded voice to any telephone number assigned to a
 3                       cellular telephone service;
 4                b.     Whether Plaintiff and the Class members were damaged
 5                       thereby, and the extent of damages for such violation; and
 6                c.     Whether Defendant should be enjoined from engaging in such
 7                       conduct in the future.
 8         22.    As a person that received numerous telemarketing/solicitation calls
 9   from Defendant using an automatic telephone dialing system or an artificial or
10   prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
11   claims that are typical of The Class.
12         23.    Plaintiff will fairly and adequately protect the interests of the members
13   of The Class. Plaintiff has retained attorneys experienced in the prosecution of
14   class actions.
15         24.    A class action is superior to other available methods of fair and
16   efficient adjudication of this controversy, since individual litigation of the claims
17   of all Class members is impracticable. Even if every Class member could afford
18   individual litigation, the court system could not. It would be unduly burdensome
19   to the courts in which individual litigation of numerous issues would proceed.
20   Individualized litigation would also present the potential for varying, inconsistent,
21   or contradictory judgments and would magnify the delay and expense to all parties

22   and to the court system resulting from multiple trials of the same complex factual

23   issues. By contrast, the conduct of this action as a class action presents fewer

24   management difficulties, conserves the resources of the parties and of the court

25
     system, and protects the rights of each Class member.

26
           25.    The prosecution of separate actions by individual Class members

27
     would create a risk of adjudications with respect to them that would, as a practical

28
     matter, be dispositive of the interests of the other Class members not parties to such



                                  CLASS ACTION COMPLAINT
                                             -6-
     Case 5:20-cv-01635-CBM-SP Document 1 Filed 08/14/20 Page 7 of 9 Page ID #:7




 1   adjudications or that would substantially impair or impede the ability of such non-
 2   party Class members to protect their interests.
 3          26.   Defendant has acted or refused to act in respects generally applicable
 4   to The Class, thereby making appropriate final and injunctive relief with regard to
 5   the members of the Class as a whole.
 6                             FIRST CAUSE OF ACTION
 7          Negligent Violations of the Telephone Consumer Protection Act
 8                                 47 U.S.C. §227 et seq.
 9          27.   Plaintiff repeats and incorporates by reference into this cause of
10   action the allegations set forth above at Paragraphs 1-26.
11          28.   The foregoing acts and omissions of Defendant constitute numerous
12   and multiple negligent violations of the TCPA, including but not limited to each
13   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
14          29.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
15   seq., Plaintiff and the Class Members are entitled an award of $500.00 in statutory
16   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
17          30.   Plaintiff and the Class members are also entitled to and seek
18   injunctive relief prohibiting such conduct in the future.
19                           SECOND CAUSE OF ACTION
20   Knowing and/or Willful Violations of the Telephone Consumer Protection Act
21                                 47 U.S.C. §227 et seq.

22          31.   Plaintiff repeats and incorporates by reference into this cause of

23   action the allegations set forth above at Paragraphs 1-26.

24          32.   The foregoing acts and omissions of Defendant constitute numerous

25
     and multiple knowing and/or willful violations of the TCPA, including but not

26
     limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et

27
     seq.

28
            33.   As a result of Defendant’s knowing and/or willful violations of 47



                                  CLASS ACTION COMPLAINT
                                             -7-
     Case 5:20-cv-01635-CBM-SP Document 1 Filed 08/14/20 Page 8 of 9 Page ID #:8




 1   U.S.C. § 227 et seq., Plaintiff and the Class members are entitled an award of
 2   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
 3   § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 4         34.    Plaintiff and the Class members are also entitled to and seek
 5   injunctive relief prohibiting such conduct in the future.
 6                                PRAYER FOR RELIEF
 7    WHEREFORE, Plaintiff requests judgment against Defendant for the following:
 8                             FIRST CAUSE OF ACTION
 9          Negligent Violations of the Telephone Consumer Protection Act
10                                 47 U.S.C. §227 et seq.
11               • As a result of Defendant’s negligent violations of 47 U.S.C.
12                §227(b)(1), Plaintiff and the Class members are entitled to and
13                request $500 in statutory damages, for each and every violation,
14                pursuant to 47 U.S.C. 227(b)(3)(B); and
15               • Any and all other relief that the Court deems just and proper.
16                           SECOND CAUSE OF ACTION
17   Knowing and/or Willful Violations of the Telephone Consumer Protection Act
18                                 47 U.S.C. §227 et seq.
19               • As a result of Defendant’s willful and/or knowing violations of 47
20                U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to
21                and request treble damages, as provided by statute, up to $1,500, for

22                each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47

23                U.S.C. §227(b)(3)(C); and

24               • Any and all other relief that the Court deems just and proper.

25
     ///

26
     ///

27
     ///

28
     ///



                                  CLASS ACTION COMPLAINT
                                             -8-
     Case 5:20-cv-01635-CBM-SP Document 1 Filed 08/14/20 Page 9 of 9 Page ID #:9




 1
 2                                    JURY DEMAND
 3         35.    Pursuant to her rights under the Seventh Amendment to the United
 4   States Constitution, Plaintiff demands a jury on all issues so triable.
 5
 6         Respectfully Submitted this 14th day of August, 2020.
 7
 8                              LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 9
                                       By: /s/ Todd M. Friedman
10
                                           Todd M. Friedman
11                                         Law Offices of Todd M. Friedman
12                                         Attorney for Plaintiff
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                   CLASS ACTION COMPLAINT
                                              -9-
